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     THE ATHLETIC MEDIA
   7 COMPANY and MOLLY KNIGHT
   8
                                          UNITED STATES DISTRICT COURT
   9
                                    CENTRAL DISTRICT OF CALIFORNIA
  10
                                                  WESTERN DIVISION
  11
  12
       TREVOR BAUER,                                       Case No. CV 22-2062-MWF(AGRx)
  13                                                       Assigned for all purposes to the Hon.
                                          Plaintiff,       Michael W. Fitzgerald
  14
                vs.                                        ORDER GRANTING
  15                                                       DEFENDANTS’ APPLICATION
                                                           FOR LEAVE TO FILE
  16 THE ATHLETIC MEDIA COMPANY                            DECLARATION OF DIANA
     and MOLLY KNIGHT,                                     PALACIOS UNDER SEAL
  17
                    Defendants.
  18                                                       Action Filed: March 29, 2022
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       ORDER GRANTING APPLICATION TO SEAL
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   1            Pursuant to Local Rule 79-5 and good cause having been shown, Defendants’
   2 Application to File the Declaration of Diana Palacios Under Seal is hereby
   3 GRANTED.
   4            The following documents shall be sealed:
   5                          Document                               Pages
   6 Declaration of Diana Palacios In                106 through 247, inclusive
   7 Support of (A) Defendants’ Special
   8 Motion to Strike Plaintiff’s Complaint
   9 and (B) Defendants’ Motion to Dismiss
  10 Plaintiff’s Complaint [Dkt. 20-1].
  11
  12 Declaration of Diana Palacios In                106 through 247, inclusive
  13 Support of (A) Defendants’ Special
  14 Motion to Strike Plaintiff’s Complaint
  15 and (B) Defendants’ Motion to Dismiss
  16 Plaintiff’s Complaint [Dkt. 22-1].
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  19            IT IS SO ORDERED.
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  21 Dated: August 25, 2022
  22                                                  MICHAEL W. FITZGERALD
                                                      United States District Judge
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       ORDER GRANTING APPLICATION TO SEAL
       4857-5189-6623v.1 0113180-000004
